          Case 8:21-cv-00553-GJH Document 7 Filed 05/06/21 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION


JAMES E. KELLY, JR.                                   )
                                                      )
                                                      )
                       Plaintiff,                     )      Civil Action No: 8:21-cv-00553-GJH
                                                      )
               v.                                     )
                                                      )
                                                      )
THE UNITED STATES OF AMERICA, and                     )
TOTE SERVICES, LLC a/k/a/                             )
TOTE SERVICES, INC. a/k/a/                            )
INTEROCEAN AMERICAN SHIPPING                          )
CORPORATION a/k/a INTEROCEAN                          )
UGLAND MANAGEMENT                                     )
CORPORATION                                           )
10401 Deerwood Park Blvd., Suite 1300                 )
Jacksonville, FL 32256                                )
                                                      )
                       Defendants.                    )


       DEFENDANT UNITED STATES OF AMERICA’S MOTION TO DISMISS
         PLAINTIFF’S CLAIMS AND CO-DEFENDANT TOTE SERVICES

       The United States of America, pursuant to Fed. R. Civ. P. 12(b)(1), respectfully requests

the Court grant this motion to dismiss Plaintiff’s claims against the vessel operator Tote

Services, Inc., and against the United States. Under the applicable wavier of sovereign immunity,

the United States is the only proper defendant for an injury to a seaman employed aboard a

public vessel. See 46 U.S.C.A. § 30904. This exclusivity provision means that the Court lacks

subject matter jurisdiction over Tote Services; and therefore, it should be dismissed.

       Plaintiff’s Complaint against the United States must likewise be dismissed, as Plaintiff

has failed to exhaust his administrative remedies as set forth in 46 C.F.R. § 327. Mainly, Plaintiff

did not file an administrative claim with the Maritime Administration (“MARAD”), a

                                                 1
           Case 8:21-cv-00553-GJH Document 7 Filed 05/06/21 Page 2 of 4



jurisdictional prerequisite under the Suits in Admiralty Act (SAA). Therefore, the Court also

does not have subject matter jurisdiction over Plaintiff’s claims against the United States, and

therefore they should be dismissed.

         This motion is supported by a memorandum of law and exhibits, which are concurrently

filed.




                                                 2
    Case 8:21-cv-00553-GJH Document 7 Filed 05/06/21 Page 3 of 4



Dated: May 6, 2021                Respectfully Submitted,

                                  BRIAN M. BOYNTON
                                  Acting Assistant Attorney General
                                  Civil Division

                                  JONATHAN F. LENZNER
                                  Acting United States Attorney
                                  District of Maryland

                                  NEIL R. WHITE
                                  Assistant United States Attorney
                                  District of Maryland

                                  By: /s/ Richard H. Miller III         .
                                  RICHARD H. MILLER III (NY 5870126)
                                  ROBERT E. KELLY (IL 6286571)
                                  Trial Attorneys
                                  United States Department of Justice
                                  Torts Branch, Civil Division
                                  175 N Street, NE, 8th Floor
                                  Washington, D.C. 20002
                                  Tel: (202) 616-4100 (RHM)
                                  Tel: (202) 616-4031 (REK)
                                  Fax: (202) 616-4002
                                  Richard.H.Miller@usdoj.gov
                                  Robert.Kelly@usdoj.gov

                                  Attorneys for Defendant
                                  United States of America




                                 3
         Case 8:21-cv-00553-GJH Document 7 Filed 05/06/21 Page 4 of 4



                                CERTIFICATE OF SERVICE

      I hereby certify that on May 6, 2021, I served a copy of the forgoing to the following

counsel via the Court’s CM/ECF system.



      Charles L Simmons Jr.
      James R. Jeffcoat
      Whiteford, Taylor & Preston, LLP
      7 St. Paul Street, Suite 1500
      Baltimore, Maryland 21202
      Tel: (410) 347-9491
      Fax: (410) 234-2345
      csimmons@wtplaw.com
      jjefcoat@wtplaw.com

      Attorneys for the Plaintiffs

                                                    /s/ Richard H. Miller III                  .
                                                    Trial Attorney
                                                    United States Department of Justice




                                               4
